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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA


BYRONIESHA ALEXANDER,                               CIVIL ACTION NO. 2:25-cv-00066

     Plaintiff
                                                    SECTION H
VERSUS                                              JUDGE JANE TRICHE MILAZZO

HOUSING AUTHORITY OF NEW
ORLEANS,                                            DIVISION 3
                                                    MAGISTRATE JUDGE EVA J. DOSSIER
     Defendant


                                     NOTICE OF COMPLIANCE

                 In compliance with 28 U.S.C. § 1447(b), defendant Housing Authority of New

 Orleans ("HANO") respectfully submits:

        (1)      A list of all parties still remaining in the action:

                 Plaintiff:

                         i.      Byroniesha Alexander

                 Defendant:

                         i.      Housing Authority of New Orleans

        (2)      Copies of all pleadings filed by the parties in state court (consisting of Plaintiff's In

 Forma Pauperis Affidavit, Petition for Judicial Review of Housing Authority Decision to

 Terminate Housing Assistance, Emergency Motion for Stay of Housing Authority Decision

 Pending Judicial Review, and Notice of Filing of Notice of Removal with Exhibits), attached as

 Exhibit 1.




                                                                                                  5744723v.1
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       (3)      Copies of returns on service of process filed in the state court record are attached

as Exhibit 2.



Dated: January 21, 2025                       Respectfully submitted,

                                              /s/ Kathryn M. Knight
                                              Kathryn M. Knight, La. Bar No. 28641
                                              Rachel W. Wisdom, La. Bar No. 21167
                                              Katelyn N. McGibney, La. Bar No. 39979
                                                             Of
                                              Stone Pigman Walther Wittmann L.L.C.
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                                              New Orleans, Louisiana 70112
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                                                      rwisdom@stonepigman.com
                                                      kmcgibney@stonepigman.com

                                              Attorneys for Housing Authority of New Orleans



                                 CERTIFICATE OF SERVICE

                I hereby certify that a copy of the foregoing Notice of Compliance will be served

on all counsel through the Court's CM/ECF system and by email on this 21st day of January, 2025.

                                                            /s/ Kathryn M. Knight
                                                           KATHRYN M. KNIGHT




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